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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

TINA M. BRABOY,

       Plaintiff,
                                                        Case No. 22-10697
v.                                                      Honorable Linda V. Parker

BANK OF AMERICA CORPORATION, et al.,

      Defendant.
________________________________/


           NOTICE TO APPEAR FOR CASE MANAGEMENT STATUS
                    AND SCHEDULING CONFERENCE


       YOU ARE NOTIFIED TO APPEAR BY TELEPHONE ON July 21, 2022 at

10:30 AM for a Case Management Status and Scheduling Conference. Counsel shall

call the Court’s toll-free conference line at 1-888-808-6929 and use Access Code

8141695.

       Counsel shall comply with Fed. R. Civ. Proc. Rule 26(f) and submit to the Court a

joint discovery plan no later than 3 business days before the conference. In addition to

the contents required under Rule 26(f), the joint discovery plan shall contain a case

summary that:

           • Summarizes the background of the action, the principal factual and legal
             issues for both sides, and the relief sought by the plaintiff(s);

           • Outlines the proposed discovery and proposes an appropriate management
             plan, including a schedule setting discovery cut-off and trial dates; and


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           • Describes any outstanding or anticipated discovery disputes, the bases for
             any objections, and any anticipated motions, including dispositive motions

       The proposed discovery plan and case summary shall be filed with the Court.

Please be prepared to discuss the following, when relevant, at the Scheduling Conference:

           1.   The issues and narrowing the issues;
           2.   Subject matter jurisdiction;
           3.   Relationship to other cases;
           4.   Necessity of amendments to pleadings, additional parties, third-party
                complaints, etc.;
           5.   Settlement, including alternative dispute resolution;
           6.   Progress of discovery (counsel is instructed to commence significant
                discovery prior to the conference);
           7.   Issues which may appropriately be resolved by motion; and
           8.   Estimated trial length

       Where applicable, the Court directs counsel to discuss case evaluation (formerly

“mediation”) with their clients, and the prospect of obtaining authority to stipulate to be

bound by the provisions of Mich. Ct. R. 2.403, including the section dealing with

sanctions. Where case evaluation is not applicable, the Court directs counsel to discuss

alternative methods of settlement (e.g., facilitation) with their clients.



Dated: June 24, 2022                               s/Linda V. Parker
                                                   U.S. DISTRICT JUDGE

                                       Certificate of Service

I hereby certify that on this date, June 24, 2022, a copy of the foregoing notice was
served upon the parties and/or counsel of record herein by electronic means or first-class
U.S. mail.

                                                   s/A. Flanigan
                                                   Case Manager
                                                   (313) 234-5524


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